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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION                              Misc. Case No.
  600 Pennsylvania Avenue, N.W.
  Washington, D.C. 20580,                             MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF
                               Petitioner,            PETITION OF THE FEDERAL TRADE
                                                      COMMISSION FOR AN ORDER
v.                                                    ENFORCING CIVIL INVESTIGATIVE
                                                      DEMAND
STEPHEN K. BANNON
  210 A Street, N.E.
  Washington, D.C. 20002,                             REDACTED VERSION OF DOCUMENT
                                                      SOUGHT TO BE FILED
                               Respondent.            TEMPORARILY UNDER SEAL



                                        INTRODUCTION

       The Federal Trade Commission (“Commission”) seeks an order requiring Respondent,

Stephen K. Bannon (“Bannon”), to appear for an investigational hearing in compliance with a Civil

Investigative Demand (“CID”) the Commission issued to him on September 24, 2019. The

Commission is investigating whether Bannon, formerly an officer of Cambridge Analytica, LLC,

violated Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, in connection

with Cambridge Analytica’s operation of a deceptive scheme that improperly harvested Facebook

user profile information of tens of millions of American consumers. 1

       Bannon raised no objection to the CID, including the demand for his testimony at an

investigational hearing—which was first scheduled for March 11, 2020, but postponed due to

concerns related to the COVID-19 pandemic to September 29, 2020 (at Bannon’s counsel’s


1
 All references to “Pet. Ex.” are to exhibits attached to Petition of the Federal Trade Commission for
an Order Enforcing Civil Investigative Demand filed concurrently herewith.


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insistence, an in-person hearing). When the time came, however, Bannon refused to appear. He

claims that his recent indictment on unrelated money laundering and fraud charges associated with

the alleged misuse of charitable donations entitles him to disregard the Commission’s CID because

he has a Fifth Amendment right not to incriminate himself.

       Bannon’s attempt to stall the Commission’s investigation is unjustified and should not be

countenanced. Courts have long recognized that a witness, like Bannon, cannot refuse to attend a

deposition under a blanket assertion of the Fifth Amendment. Accordingly, this Court should grant

the Commission’s Petition and order Bannon to comply with the CID by appearing—either in-person

or remotely via videoconference—for an investigational hearing before Commission staff.

                                JURISDICTION AND VENUE

       The FTC Act empowers the Commission to issue CIDs—a type of administrative

subpoena—to “any person [who] . . . may have any information, relevant to unfair or deceptive acts

or practices in or affecting commerce.” 15 U.S.C. § 57b-1(c)(1). If a CID recipient fails to comply,

the Commission may petition the district court “in which such person resides, is found, or transacts

business” for an order enforcing the CID. 15 U.S.C. § 57b-1(e). Bannon resides, is found, and/or

transacts business in the District of Columbia. Because Bannon has failed to comply in full with the

Commission’s CID, this Court is empowered to issue an order directing Bannon to show cause why

the Court should not grant the instant Petition and to enter its own order enforcing the CID and

requiring Bannon to appear at an investigational hearing.

                                  FACTUAL BACKGROUND

       A.      The Commission’s Administrative Action Against Cambridge Analytica For Its
               Improper Collection Of Personally Identifiable Facebook Profile Data Through
               Deceptive Means

       Cambridge Analytica—which is now defunct—previously operated as a data analytics and


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consulting company that provided voter profiling and marketing services for political campaigns and

commercial clients. Cambridge Analytica, LLC, Docket No. 9389, 2019 WL 6724446, at *2-*3

(FTC Nov. 25, 2019). In 2014, Cambridge Analytica launched a software application on the

Facebook platform—called the “GSRApp”—to collect Facebook data and predict users’ personality

traits that could then be used for micro-targeting and marketing purposes. Id. at *3-*5.

        The Commission opened an investigation of Cambridge Analytica following public reports in

March 2018 that the company had improperly obtained personally identifiable Facebook data for tens

of millions of American consumers. In July 2019, the Commission filed an administrative complaint

against Cambridge Analytica. In November 2019, following a motion for summary judgment, the

Commission determined that Cambridge Analytica had obtained consumers’ Facebook data by false

and deceptive means, in violation of the FTC Act. Id. at *10-*11. Specifically, the Commission

found that Cambridge Analytica falsely represented that the GSRApp— which asked Facebook users

to take a personality test as well as to answer questions related to their political enthusiasm, political

orientation, frequency in voting, consistency in voting for the same political party, and views on

particular controversial issues—did not collect any personally identifiable information. Id. at *3-*5,

*10-*11. At the point in the survey where participants were asked to consent to having their

Facebook profile data collected, participants were told:

        In this part, we would like to download some of your Facebook data using our
        Facebook app. We want you to know that we will NOT download your name or any
        other identifiable information—we are interested in your demographics and likes.

Id. at *6. In truth, the GSRApp collected personally identifiable information from the survey

participants and their Facebook “Friends,” including their Facebook ID (a persistent, unique

identifier that connects the user to their Facebook profile), gender, birthdate, and location. Id. This

data was then used to match the individual participants—and tens of millions of their Facebook


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“Friends”—with their voter records and other data provided by Cambridge Analytica. Id. at *5-*6.

In total, through its use of the GSRApp, Cambridge Analytica harvested Facebook data from

approximately 50 to 65 million of the participants’ Facebook “Friends,” including at least 30 million

United States consumers. Id. at *6.

       In addition to proceeding against Cambridge Analytica, the Commission also brought, and

settled, administrative charges against two individuals for their roles in Cambridge Analytica’s

deceptive scheme: Aleksandr Kogan, the developer of GSRApp, and Alexander Nix, the former

Chief Executive Officer of Cambridge Analytica. See Aleksandr Kogan and Alexander Nix, Docket

No. C-4693, 2019 WL 7168922 (FTC Dec. 18, 2019) (Commission’s final order against Kogan);

Aleksandr Kogan and Alexander Nix, Docket No. C-4694, 2019 WL 7168925 (FTC Dec. 18, 2019)

(Commission’s final order against Nix).

       B.      The Commission’s Investigation Of Bannon’s Role In Cambridge Analytica

       Because Bannon served as Vice President and board member of Cambridge Analytica during

the time that it carried out this deceptive scheme, the Commission opened an investigation into

whether Bannon also bore responsibility for Cambridge Analytica’s deceptive harvesting of

consumers’ Facebook data. Public reports suggested that he did. See, e.g., Carole Cadwalladr,

‘I made Steve Bannon’s Psychological Warfare Tool’: Meet the Data War Whistleblower,

THE GUARDIAN (Mar. 18, 2018), https://www.theguardian.com/news/2018/mar/17/data-war-

whistleblower-christopher-wylie-faceook-nix-bannon-trump. Accordingly, on September 24, 2019,

the Commission issued a CID to Bannon. Notwithstanding Bannon’s repeated efforts to evade

service—including one attempt that made the local political press 2—the Commission succeeded in


2
 Nancy Scola, Federal agency tries to serve Steve Bannon a subpoena, POLITICO (Sept. 25, 2019),
https://www.politico.com/news/2019/09/25/steve-bannon-ftc-subpoena-cambridge-analytica-001022.


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personally serving the CID on Bannon on November 14, 2019. Pet. Ex. 1 (Kopp Decl.), ¶ 12; Pet.

Ex. 3 (Process Server Affs.) at 1-2.

           Bannon did not file an administrative petition to limit or quash the CID, including the

demand for an investigational hearing. Pet. Ex. 1 (Kopp Decl.), ¶ 14. Between January and

August 2020, Commission staff and Bannon’s counsel met and conferred to find a mutually

convenient date for Bannon’s investigational hearing so that the Commission could probe, among

other things, Bannon’s individual responsibility for Cambridge Analytica’s deceptive conduct as well

as his knowledge about any possible continued use of the GSRApp data. Id., ¶¶ 9, 17. Due to both

scheduling issues and concerns related to the ongoing COVID-19 pandemic, the Associate Director

for the Commission’s Division of Privacy and Identity Protection (“DPIP Associate Director”)

formally extended the appearance date for Bannon’s investigational hearing on several occasions. Id.

at ¶ 17.

           On August 27, 2020, following a meet and confer between Commission staff and Bannon’s

counsel, the DPIP Associate Director issued a letter setting a September 29, 2020 appearance date for

Bannon’s investigational hearing. Pet. Ex. 5 (8/27/20 Mithal Letter). Although Commission staff

offered to conduct Bannon’s investigational hearing remotely due to the ongoing COVID-19

pandemic, Bannon’s counsel rejected that offer, preferring instead to have the investigational hearing

conducted in-person. Id.; Pet. Ex. 1 (Kopp Decl.), ¶ 18.

           C.     Bannon’s Refusal To Appear For An Investigational Hearing Due To An
                  Unrelated Criminal Indictment

           On August 20, 2020, an indictment charging Bannon for his role in defrauding donors in

connection with an online crowdfunding campaign, known as “We Build the Wall,” was unsealed by

a federal court in the Southern District of New York. See Press Release, Leaders Of ‘We Build The




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Wall’ Online Fundraising Campaign Charged With Defrauding Hundreds Of Thousands Of Donors,

U.S. DEP’T    OF   JUSTICE, U.S. ATT’Y’S OFFICE, S. DIST.           OF   N.Y. (Aug. 20, 2020),

https://www.justice.gov/usao-sdny/pr/leaders-we-build-wall-online-fundraising-campaign-charged-

defrauding-hundreds-thousands (last visited Oct. 21, 2020). On its face, however, the criminal

indictment has no overlap with the Commission’s investigation. The criminal indictment involves a

different entity (i.e., an online crowdfunding campaign, not Cambridge Analytica); different conduct

at a much later date (i.e., alleged wire fraud and money laundering of crowdfunding contributions in

2018 through 2020, not misleading consumers to obtain personally identifiable Facebook profile

information in 2014); and different alleged victims (i.e., donors to the crowdfunding campaign, not

Facebook users). Compare Pet. Ex. 6 (Bannon Indictment) with Pet Ex. 2 (CID) at 4-5. Indeed, the

only “overlap” between the indictment and the Commission’s investigation appears to be Bannon

himself.

       Notwithstanding the lack of overlap between the Commission’s investigation and the

criminal indictment, Bannon’s counsel informed Commission staff on September 3, 2020, that



                                                                                         . Pet. Ex. 7

(9/3/20 Burck Letter). Subsequently,




                                   . Pet. Ex. 9 (9/15/20 Burck Letter) at 2; Pet. Ex. 1 (Kopp Decl.),

¶ 23. On September 28, 2020—the day before the scheduled investigational hearing—Bannon’s




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counsel informed Commission staff in writing that Bannon “

                                                              ” Pet. Ex. 11 (9/28/20 Burck Letter).

                                           ARGUMENT

I.     The CID For An Investigational Hearing Is Lawful, Seeks Relevant Testimony, And
       Is Not Unduly Burdensome

       A.      Standards For Enforcement Of Agency Process

       The standards for the judicial enforcement of administrative compulsory process have long

been settled in this Circuit: “[T]he court’s role in a proceeding to enforce an administrative subpoena

is a strictly limited one.” FTC v. Texaco, Inc., 555 F.2d 862, 871-72 (D.C. Cir. 1977) (en banc)

(citing Endicott Johnson v. Perkins, 317 U.S. 501, 509 (1943)); see also United States v. Morton Salt

Co., 338 U.S. 632, 652 (1950). And “while the court’s function is ‘neither minor nor ministerial,’

the scope of issues which may be litigated in an enforcement proceeding must be narrow, because of

the important governmental interest in the expeditious investigation of possible unlawful activity.”

Texaco, 555 F.2d at 872 (quoting Oklahoma Press Publ’g Co. v. Walling, 327 U.S. 186, 217 n.57

(1946)); accord FTC v. Anderson, 631 F.2d 741, 744-45 (D.C. Cir. 1979).

       Like any administrative agency, the Commission has broad authority to “investigate merely

on suspicion that the law is being violated, or even just because it wants assurance that it is not.”

Morton Salt Co., 338 U.S at 642-43. A district court must enforce agency investigative process so

long as “the inquiry is within the authority of the agency, the demand is not too indefinite and the

information sought is reasonably relevant.” See Texaco, 555 F.2d at 872 (quoting Morton Salt, 338

U.S. at 652). In making this determination, the agency’s own appraisal of relevancy must be

accepted so long as it is not “obviously wrong.” FTC v. Invention Submission Corp., 965 F.2d 1086,

1089 (D.C. Cir. 1992) (citing FTC v. Carter, 636 F.2d 781, 787-88 (D.C. Cir. 1980)).




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         Proceedings to enforce administrative investigative subpoenas and civil investigative

demands are entitled to summary disposition. They are special statutory matters cognizable under

Fed. R. Civ. P. 81(a)(5), and are properly instituted by a petition and order to show cause (rather than

by a complaint and summons). See, e.g., FTC v. MacArthur, 532 F.2d 1135, 1141-42 (D.C. Cir.

1976).    And they are summary in nature—“discovery is improper in a summary subpoena

enforcement proceeding.” Carter, 636 F.2d at 789 (quoting United States v. Exxon Corp., 628 F.2d

70, 77 n.7 (D.C. Cir. 1980)); accord Invention Submission, 965 F.2d at 1091.

         As described in more detail below, all the standards governing enforcement of the

Commission’s compulsory process have been satisfied. The Commission had the authority to issue

the CID to Bannon, the testimony sought from Bannon is plainly relevant to the Commission’s

investigation, and compliance with the investigational hearing demand does not impose an undue

burden. Because Bannon cannot provide any valid justifications for his refusal to comply with the

CID, it must be enforced.

         B.     The CID Is Within The Commission’s Authority And Was Properly Issued
                According To All Administrative Prerequisites

         Bannon has not disputed that the CID is within the Commission’s authority.                The

Commission lawfully issued the CID as part of an investigation into whether Bannon, through his

role at and involvement with Cambridge Analytica, has committed violations of Section 5 of the

FTC Act, 15 U.S.C. § 45. Pet. Ex. 1 (Kopp Decl.), ¶¶ 3, 9-10; Pet. Ex. 2 (CID) at 4. In so doing, the

Commission acted under a valid agency resolution authorizing the issuance of compulsory process to

investigate unfair or deceptive acts or practices relating to consumer privacy and/or data security.

Pet. Ex. 1 (Kopp Decl.), ¶ 11; Pet. Ex. 2 (CID) at 14 (attaching a “Resolution Directing Use Of




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Compulsory Process in Nonpublic Investigation Of Acts And Practices Related To Consumer

Privacy And/Or Data Security”). 3

       The Commission properly issued the CID pursuant to Section 20 of the FTC Act, 15 U.S.C.

§ 57b-1, which authorizes the Commission to issue civil investigative demands “[w]henever the

Commission has reason to believe that any person may be in possession, custody, or control of any

documentary material or tangible things, or may have any information, relevant to unfair or deceptive

acts or practices . . . .” 15 U.S.C. § 57b-1(c)(1); see also Pet. Ex. 2 (CID) at 1, 14. The CID was

issued consistent with all governing administrative prerequisites. See Pet. Ex. 1 (Kopp Decl.), ¶¶ 10-

12; 15 U.S.C. §§ 57b-1(c)(2), (c)(3), (c)(7), (i) (requirements for form, content, and service of civil

investigative demands); accord 16 C.F.R. § 2.7(a), (b). The Commission also personally served

Bannon with the CID on November 14, 2019. Id., ¶ 12; Pet. Ex. 3 (Process Server Affs.) at 1-2.

       C.      The CID Seeks Testimony From Bannon That Is Reasonably Relevant To The
               Commission’s Investigation

       The standard for judging relevancy in an investigatory proceeding is more relaxed than in an

adjudication. In an investigation, the Commission is not limited to seeking information that is

necessary to prove a specific charge. The Commission may seek to learn whether there is reason to

believe that the law is being violated and, if so, whether issuance of a complaint would be in the

public interest. See Texaco, 555 F.2d at 72; Invention Submission Corp., 965 F.2d at 1090. The

requested testimony “need only be relevant to the investigation—the boundary of which may be

defined by the agency quite generally . . . .” Invention Submission Corp., 965 F.2d at 1090 (quoting

Carter, 636 F.2d at 787-88; Texaco, 555 F.2d at 874 & n.26) (emphasis in original).


3
 Courts have recognized that unfair or deceptive acts or practices involving data security issues fall
squarely within the Commission’s authority. See, e.g., FTC v. D-Link Sys., Inc., No. 3:17-CV-
00039-JD, 2017 WL 4150873, at *4 (N.D. Cal. Sept. 19, 2017); FTC v. Wyndham Worldwide Corp.,
10 F. Supp. 3d 602, 615 (D.N.J. 2014), aff’d, 799 F.3d 236 (3d Cir. 2015).


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        Furthermore, in evaluating relevance objections to agency investigations, “a court must

respect the agency’s ‘power of inquisition’ and interpret relevance broadly.” FTC v. Invention

Submission Corp., No. 89-272(RCL), 1991 WL 47104, at *2 (D.D.C. Feb. 14, 1991) (quoting

Morton Salt, 338 U.S. at 642), aff’d, 965 F.2d 1086. As the D.C. Circuit has explained, “in the

pre-complaint stage, an investigating agency is under no obligation to propound a narrowly focused

theory of a possible future case.” Texaco, 555 F.2d at 874; see also Invention Submission Corp.,

1991 WL 47104, at *2 (agency can inquire “merely on suspicion that the law is being violated, or

even just because it wants assurance that it is not”) (citation omitted). Consequently, “[b]ecause the

need for investigating allegations of unlawful activity is a substantial one, the law requires that courts

give agencies leeway when considering relevance objections.” Invention Submission Corp., 1991

WL 47104, at *2.

        Bannon has not contested—nor could he—that his testimony is relevant to the Commission’s

investigation. 4 As just one example, the Commission is seeking to determine whether Bannon may

be held individually liable for Cambridge Analytica’s deceptive collection of consumer information

from Facebook users. Pet. Ex. 1 (Kopp Decl.), ¶¶ 3, 9. Testimony from Bannon about his role and

involvement with Cambridge Analytica bears directly on that question. See, e.g., POM Wonderful,

LLC v. FTC, 777 F.3d 478, 498 (D.C. Cir. 2015) (individuals may be liable for FTC Act violations

committed by a corporate entity if they “participated directly in the deceptive practices or acts or had

authority to control them”) (citations omitted).




4
  Indeed, Bannon cannot second-guess the Commission’s determination of relevance here. The
Commission’s “judgment” that testimony from Bannon would “aid its investigation” is entitled to
deference by this Court. See FTC v. Bisaro, 757 F. Supp. 2d 1, 8-9 (D.D.C. 2010) (recognizing that
district courts “must defer to the FTC’s judgment as to whether further testimony from Respondent
will aid its investigation,” and ordering respondent to sit for a deposition).


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       Relatedly, the investigation seeks to probe Bannon’s knowledge of questions unresolved by

the Commission’s proceeding against Cambridge Analytica: What happened to consumers’

improperly harvested Facebook data? And with whom has it been shared? Pet. Ex. 1 (Kopp Decl.),

¶ 9. Any continued use of the Facebook data would represent a significant continuing harm for

consumers. Id., ¶ 28. Even if Bannon disavows having such knowledge, this response needs to be

probed through testimony. This information bears on possible continuing harm to consumers from

use of their personal information, which is plainly relevant to the Commission’s investigation. Id.

       D.      Compliance With The CID Is Not Unduly Burdensome

       This Circuit has recognized that district courts may “impose reasonable conditions and

restrictions” on administrative compulsory process when “the demand is unduly burdensome.”

Texaco, 555 F.2d at 881. However, at the same time, “[s]ome burden on the subpoenaed parties is to

be expected and is necessary in furtherance of the agency’s legitimate inquiry and the public

inquiry.” Id. at 882. It is respondent’s burden to demonstrate that compliance with investigatory

process is unduly burdensome, and that burden is not easily met where, as here, “the agency’s inquiry

is pursuant to a lawful purpose and the requested [testimony] [is] relevant to that purpose.” Id. at

882; see also Linde Thomson Langworthy Kohn & Van Dyke, P.C. v. Resolution Trust Corp., 5 F.3d

1508, 1517 (D.C. Cir. 1993) (same).

       For over nine months, Commission staff negotiated with Bannon’s counsel to find a mutually

convenient date for an investigational hearing and extended the appearance date to accommodate

concerns about the ongoing global pandemic. Pet. Ex. 1 (Kopp Decl.), ¶ 17. During that time,

Bannon’s counsel never argued that it was unduly burdensome for Bannon to appear and testify at an

investigational hearing before the Commission. Id., ¶¶ 14-18. Nor could he, as courts in this District

have routinely held that administrative subpoenas requiring a witness to attend a deposition are not


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unduly burdensome. See, e.g., Bisaro, 757 F. Supp. 2d at 9 (respondent failed to show that

“compliance with the subpoena—which merely requires him to testify at a hearing or deposition

before the FTC in Washington, D.C.—would be burdensome at all, let alone unduly so”).

       Bannon’s brazen and unilateral refusal to comply with the Commission’s investigational

hearing demand in the CID is premised solely on his indictment in an unrelated criminal action in the

Southern District of New York and his counsel’s decision—before the investigational hearing has

even occurred—that Bannon will invoke his Fifth Amendment rights to every question posed by

Commission staff. Pet. Ex. 1 (Kopp Decl.), ¶¶ 20-25. From that preemptive assertion of Bannon’s

Fifth Amendments rights, and blanket refusal to testify about anything substantive at the

investigational hearing, Bannon’s counsel argues that requiring Bannon to appear at an

investigational hearing to assert his rights is “                        .” Pet. Ex. 9 (9/15/20 Burck

Letter). Not so.

       As a threshold matter, Bannon cannot refuse to appear for an investigational hearing simply

because he intends to invoke his Fifth Amendment rights. Courts have long recognized that an

individual’s constitutional right against self-incrimination must be invoked in response to specific

questions; an individual cannot simply assert the privilege on a blanket basis to avoid sitting for a

deposition. See, e.g., Dist. Title v. Warren, 265 F. Supp. 3d 17, 21-22 (D.D.C. 2017) (overruling

objections to magistrate judge’s order requiring individual to appear for a deposition and assert his

Fifth Amendment privileges, as appropriate, on a question-by-question basis); Office of Thrift

Supervision, Dep’t of Treasury v. Zannis, No. 90-0136, 1990 WL 421186, at *3 (D.D.C. Aug. 14,

1990) (enforcing administrative subpoena for oral testimony and requiring respondent to make a

“particularized claim of privilege in response to specific questions” despite “blanket” assertion of his




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Fifth Amendment privilege). 5 Rather, “the proper procedure is for the [witness] to attend the

[proceeding], be sworn under oath, and respond to those questions he can answer without running a

risk of self-incrimination.” See Hansen, 233 F.R.D. at 668 (noting that witness may assert the

privilege to questions, as warranted, provided “he has ‘reasonable cause’ to believe a direct answer

would result in self-incrimination”); see also 8 FED. PRAC. & PROC. CIV. § 2018 (3d ed.).

       Requiring Bannon to invoke his Fifth Amendment rights at the investigational hearing on a

question-by-question basis imposes no undue burden on him. It is well established a witness can

only invoke the privilege where he or she has a reasonable belief that “testimony could ‘furnish a

link in the chain of evidence needed to prosecute’ him [or her] for a crime.” Warren, 265 F. Supp.

3d at 21 (quoting Hoffman v. United States, 341 U.S. 479, 486 (1951)). “The witness is not

exonerated from answering merely because he declares that in doing so he would incriminate

himself—his say-so does not of itself establish the hazard of incrimination.” Hoffman, 341 U.S. at

486; see also Zicarelli v. N.J. State Comm’n of Investigation, 406 U.S. 472, 478 (1972) (the danger

of self-incrimination must be real, not remote or speculative). Such a rule makes practical sense—

without knowing the specific questions to be put to the witness, a district court cannot determine

whether the privilege is being properly asserted to each question. See United States v. Thornton, 733

F.2d 121, 125-26 (D.C. Cir. 1984); Warren, 265 F. Supp. 3d at 21-22 (“[T]here is a presumption


5
 Courts outside this Circuit have recognized witnesses cannot avoid sitting for a deposition simply
because they intend to invoke the Fifth Amendment. See, e.g., Rutherford v. PaloVerde Health Care
Dist., 2014 WL 12633525, at *2 (C.D. Cal. Oct. 23, 2014) (“Regardless of the extent to which
defendant Hudson may be asked at her deposition for information that may be used in a criminal case
against her, she may not assert a blanket Fifth Amendment objection as a basis not to appear for a
deposition in this case.”); Vazquez-Rijos v. Anhang, 654 F.3d 122, 129 (1st Cir. 2011) (noting that
“while [the witness] certainly had a right to refuse to answer questions on the basis of her privilege
against self-incrimination, it was improper to refuse to appear for any deposition whatsoever on that
basis, rather than refuse to answer specific questions” because “[t]he Fifth Amendment privilege
cannot be invoked on a blanket basis”) (internal citations and quotations omitted); United States v.
Hansen, 233 F.R.D. 665, 668 (S.D. Cal. 2005) (holding that an individual “cannot refuse to attend a
deposition under a blanket claim of Fifth Amendment privilege”).


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against blanket assertions of Fifth Amendment privilege, and the law is clear that the privilege

against self-incrimination must be asserted on a question-by-question basis.” (citation and quotation

omitted)).

       To the extent that Bannon suggests

                                       Pet. Ex. 11 (9/28/20 Burck Letter), that contention is likewise

meritless. The Commission offered to conduct the investigational hearing remotely. Pet. Ex. 1

(Kopp Decl.), ¶ 18. It was Bannon’s counsel who insisted that the investigational hearing be

conducted in-person. Id.

       The law is clear—if Bannon intends to invoke his Fifth Amendment rights in response to the

Commission’s lawful demand for testimony, he must appear at the investigational hearing and

invoke the privilege on a question-by-question basis. Bannon cannot use the preemptive assertion of

his Fifth Amendment rights to manufacture an undue burden here. Nor can he use it to relieve

himself of his obligation to appear for an investigational hearing pursuant to the CID.

II.    Bannon’s Refusal To Appear For An Investigational Hearing Prejudices The
       Commission’s Efforts To Enforce The FTC Act And Protect The Public

       In written correspondence to Commission staff, Bannon’s counsel has asserted



               Pet. Ex. 9 (9/15/20 Burck Letter) at 2. That is not Bannon’s judgment to make, and it

is wrong, in any event.

       Bannon’s unilateral refusal to appear for an investigational hearing until the completion of his

criminal trial impedes the Commission’s ability to enforce its laws and to protect the public. Courts

have long recognized that the Commission and the public have a strong interest in seeing the prompt

enforcement of the laws that Congress has tasked the Commission with enforcing. See, e.g., FTC v.




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Parade of Toys Inc., No. CIV.A. 97-2367-GTV, 1997 WL 688752, at *2 (D. Kan. Oct. 15, 1997)

(holding that Commission’s interest in prosecuting the civil action outweighed the witness’s “interest

in avoiding the dilemma of invoking his Fifth Amendment privilege,” and recognizing that the

“enforcement of consumer protection laws . . . substantially invoke[s] the public interest.”); FTC v.

Am. Tax Relief, LLC, No. CV 11-6397-DSF (PJWx), 2011 WL 13129965, at *1 (C.D. Cal. Oct. 19,

2011) (noting “the FTC and the public have a strong interest in the timely resolution of violations of

the FTC Act” in denying request for a stay pending resolution of a criminal investigation). 6

       Here, testimony from Bannon is critical to determine whether he has violated the FTC Act

through his role at Cambridge Analytica or his participation in Cambridge Analytica’s deceptive

conduct. Pet. Ex. 1 (Kopp Decl.), ¶¶ 3, 9. Although Bannon claims that there is no testimony he can

provide without infringing his Fifth Amendment privilege against self-incrimination, the

Commission is entitled to put that claim to the test by asking its questions. Bannon’s refusal to

appear at the investigational hearing prevents the Commission from doing so. Moreover, allowing

Bannon to stall the Commission’s investigation and any potential enforcement action arising

therefrom will have the effect of delaying the important consumer protections that the Commission

may seek following the completion of its investigation. Id., ¶¶ 26-28. 7


6
  Congress has empowered the Commission—through the FTC Act—to prevent persons and entities
from engaging in “unfair or deceptive acts or practices in or affecting commerce,” 15 U.S.C.
§ 45(a)(2), including by seeking permanent injunctive relief, 15 U.S.C. § 53(b)(2). Where, as here,
Congress has deemed conduct (i.e., deceptive and unfair practices) to be “so offensive” that it can be
permanently enjoined, such conduct “inherently require[s] prompt civil enforcement which cannot
await the outcome of a criminal investigation.” See United States v. Ogbazion, No. 3:12-cv-95, 2012
WL 4364306, at *3 (S.D. Ohio Sept. 24, 2012).
7
  For example, the Commission’s orders against Messrs. Kogan and Nix prohibited them from
making false or deceptive statements regarding the extent to which they collect, use, share, or sell
personal information and the purposes for which they collect, use, share, or sell such information.
See Aleksandr Kogan and Alexander Nix, Docket No. C-4693, 2019 WL 7168922, at *2 (FTC Dec.
18, 2019) (Section I in the final order against Kogan); Aleksandr Kogan and Alexander Nix, Docket
No. C-4694, 2019 WL 7168925, at *2 (FTC Dec. 18, 2019) (Section I in the final order against Nix).
 In addition, Messrs. Kogan and Nix are required to delete or destroy any personal information

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                                         CONCLUSION

       For all of the foregoing reasons, the Commission respectfully requests that this Court issue an

order directing Bannon to comply in full with the CID by appearing—either in-person or remotely

via videoconference—for an investigational hearing within ten days from the date of issuance of this

Court’s order, or at such other date as may be established by the Commission.



Dated: November 9, 2020                              Respectfully submitted,

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                                                     Principal Deputy General Counsel

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                                                       s/ Linda Holleran Kopp
                                                     LINDA HOLLERAN KOPP (472355)
                                                     BRIAN BERGGREN (Appearing pursuant to
                                                     LCvR 83.2(e))

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                                                     Attorneys for Petitioner




collected from consumers via the GSRApp and any related work product that originated from the
data. See Aleksandr Kogan and Alexander Nix, Docket No. C-4693, 2019 WL 7168922, at *2 (FTC
Dec. 18, 2019) (Section II in the final order against Kogan); Aleksandr Kogan and Alexander Nix,
Docket No. C-4694, 2019 WL 7168925, at *2 (FTC Dec. 18, 2019) (Section II in the final order
against Nix).


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